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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                       AT MEMPHIS

ACUITY, A MUTUAL INSURANCE                )
COMPANY,                                  )
                                          )
        Plaintiff,                        )
                                          )
v.                                        )      2:15-cv-02140-JPM-cgc
                                          )      Judge S. Thomas Anderson
REED & ASSOCIATES OF TN, LLC,             )
JUSTIN MCKEE, and JACQUELYN               )
MCKEE,                                    )
                                          )
        Defendants.                       )

                                    NOTICE OF APPEAL

        Notice is hereby given that Acuity, A Mutual Insurance Company, hereby appeals

to the United States Court of Appeals for the Sixth Circuit from an Order denying its Motion

for Summary Judgment and granting defendant, Reed & Associates of TN, LLC’s Cross-

Motion for Summary Judgment entered in this action on the 19th day of August, 2015, and

the Judgment entered on the 24th day of August, 2015.

                                    Respectfully submitted,



                                    _s/ E. Jason Ferrell____________________________
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                                    Registration No. 24425
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                                         pchastain@bkblaw.com

                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 17th day of August, 2015, a true and correct copy of the
foregoing NOTICE OF APPEAL was filed electronically. Notice of this filing will be sent by
operation of the court’s electronic filing system to all parties indicated on the electronic
filing receipt. All other parties will be served by regular U. S. Mail. Parties may access this
file through the court’s electronic filing system.

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                                         _s/ E. Jason Ferrell____________________________
                                         E. JASON FERRELL

EJF:dmt




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